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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In Re:                                                                    Chapter 7

Diamond Finance Co., Inc.,                                                Case No. 820-71877-A736

                    Debtor.

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                       ORDER GRANTING EX PARTE MOTION FOR
                  ORDER PURSUANT TO FEDERAL RULES OF BANKRUPTCY
                   PROCEDURE 2004 AUTHORIZING EXAMINATIONS AND
                       DIRECTING PRODUCTION OF DOCUMENTS

                    Upon the ex parte motion (the “Motion”)1 of Marc A. Pergament, Chapter 7

Trustee of the Estate of Diamond Finance Co., Inc. (“Trustee”), by and through his counsel,

Weinberg, Gross & Pergament LLP, pursuant to Rule 2004 of the Federal Rules of Bankruptcy

Procedure, and the Court being satisfied that the relief sought in the Motion is appropriate under

the circumstances; and good and sufficient cause appearing for the entry of this Order;

                    IT IS HEREBY ORDERED, that the relief requested in the Motion is granted as

set forth below; and it is further

                    ORDERED, 2840 LLC, Jacqueline Benzaquen and Daniella Benzaquen shall

produce the documents set forth in the Request for Documents annexed hereto on or before

April 28, 2022 at 10:00 a.m., at the offices of Weinberg, Gross & Pergament LLP, 400 Garden

City Plaza, Suite 309, Garden City, New York; and it is further

                    ORDERED, that 2840 LLC, Jacqueline Benzaquen and Daniella Benzaquen are

directed to appear for examinations and testify as to the issues set forth in the application and


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    All capitalized terms not defined herein shall have the meaning ascribed to them in the Motion.
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related issues at the offices of Weinberg, Gross & Pergament LLP, 400 Garden City Plaza, Suite

309, Garden City, New York, at a date and time to be determined by the Trustee; and it is further

               ORDERED, that the Trustee be, and hereby is, authorized to conduct Rule 2004

examinations and receive documents from 2840 LLC, Jacqueline Benzaquen and Daniella

Benzaquen as set forth below; and it is further

               ORDERED, that service of a copy of this Order, with the attached Request for

Documents, and Rule 2004 subpoenas, by certified mail upon 2840 LLC, Jacqueline Benzaquen

and Daniella Benzaquen and by regular mail upon the Debtor’s counsel, at least seventeen (17)

days prior to the date of examination and the date by which documents are to be produced shall

be deemed good and sufficient notice.




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 Dated: Central Islip, New York                                   Robert E. Grossman
        April 12, 2022                                       United States Bankruptcy Judge

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